* Case 0:16-cr-60190-BB. Document 224 Entered on FLSD Docket 11/18/2019 Page 1 of 12

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 16-60190-cr-BLOOM

UNITED STATES OF AMERICA
vs.
EDGAR ESTARLIN PERALTA LOPEZ,

Defendant.

FACTUAL PROFFER
The undersigned parties agree that, had this matter proceeded to trial, the United States

' would have proven the following facts, in addition to others, beyond a reasonable doubt:
From at least August 2009 through at least January 2013, the defendant, Edgar Estarlin
Peralta Lopez, knowingly and willfully participated in a scheme to commit wire. fraud and a
conspiracy to commit wire fraud; access device fraud; the use, production, and possession of
modified telecommunication devices; and the use and possession of hardware and software
configured to obtain telecommunications services. The object of the conspiracy was to make
money by routing telephone communications through cellular telephone accounts that the
conspirators were not authorized to use without paying the cellular telephone carriers servicing

those accounts for the services that they provided. |

As part of the scheme, conspirators used various means to obtain telecommunication
identifying information — including electronic serial numbers (“ESNs”), mobile telephone
numbers (“MTNs”), and mobile identification numbers (“MINs”) — associated with cellular
telephone accounts belonging to, or fraudulently opened in the names of, other people. Each of
these pieces of telecommunication identifying information uniquely identified a specific

telecommunications instrument or account. Conspirators would use techniques such as
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 2 of 12

“phishing” (using a fake website or emails to pose as a legitimate company to defraud a customer
of that company into disclosing personal and account information) or “social engineering”
(manipulating people as part of a fraud scheme into performing certain actions or divulging
confidential information).

The conspirators employed this information to acquire control of cellular telephone
accounts for use in the fraud. In some instances, conspirators would use stolen personally
identifiable information of an individual to establish a new cellular telephone account in the
individual’s name without his or her permission. In other instances, conspirators would use
personally identifiable information to access an individual’s existing cellular telephone account
without authorization and make unauthorized changes to the account by causing the cellular
telephone carrier to add new sub-accounts or to change the electronic serial number of the
telephone associated with the individual’ s existing account. Once the conspirators, including the
defendant, had obtained the telecommunication identifying information associated with these
compromised accounts, they would distribute that information to other members of the conspiracy
through e-mail, Internet chat, and other electronic means,

Members of the conspiracy used telephone programming hardware and software to re-
program or “clone” cellular telephones with the telecommunications identifying information
associated with the compromised accounts. By doing so, the re-programmed cellular telephones
could make telephone calls using the network of the cellular telephone carrier associated with the
compromised account. Calls made on these re-programmed cellular telephones would appear to
the carrier as if they were being made by the customer listed on the account. The bills for these
calls went to the customers whose accounts had been compromised or the person whose identity

had been stolen to create the account.
Page 2 of 12
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 3 of 12

_ The various members of the conspiracy played different roles in carrying out the fraud and:
had different responsibilities. First, as described above, some conspirators stole personally
identifiable information from individuals around the United States, which they used to take over
existing cellular telephone accounts or open fraudulent new accounts. They would use this access
to the compromised accounts to obtain the telecommunication identifying information associated
with the accounts. These conspirators were Identity Thieves.

Second, some conspirators, including the defendant, sent telecommunication identifying

‘information associated with the compromised accounts — which the conspirators referred to as

“lines” (or, in Spanish, “lineas”) — to other conspirators who operated locations (“call sites”) with
large numbers of cellular telephones. These conspirators who provided the lines were Line
Suppliers.

Third, the conspirators who ran the call sites were Call Site Operators. Call Site Operators
received telecommunication identifying information from Line Suppliers and cloned cellular
telephones at their call sites with that information. The Call Site Operators then connected these
re-programmed cellular telephones to equipment that was further connected to the Internet.

Fourth, other conspirators, including the defendant, routed thousands of international
telephone calls, on behalf of telecommunications service providers, over the Internet to the call
sites operated by others. These conspirators were Traffickers. At the call site, these telephone
calls were routed through the re-programmed cellular telephones. The cellular telephone carrier
for the account whose information had been re-programmed into each cellular telephone would
connect the call to its international destination, mistakenly believing that it had been placed by one

of its legitimate customers. In doing so, the cellular telephone carrier would incur the expenses

_ of completing the calls. However, because the calls were not actually made by their customers,

Page 3 of 12
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 4 of 12

the carriers generally did not require the customers to pay for the calls, and thus the carriers were

“not compensated for the service they provided. The conspirators would share amongst themselves
payments received by the telecommunications service providers whose calls they routed without
having to pay the costs of completing the routed calls.

In addition, some conspirators performed more than one role in the conspiracy. For
example, the defendant was a Line Supplier, emailing “lines” to Call Site Operators working in
Broward and Palm Beach Counties, within the Southern District of Florida. The defendant was
also a Trafficker, routing calls to those call sites.

In or around August 2009, the defendant met Edwin FANA while FANA was in the
Dominican Republic. Within a few days, the defendant referred FANA to Ramon BATISTA,
who operated a company called Arymyx, Inc. (“Arymyx”), to discuss a way FANA could make
money when FANA returned to the United’States by using cellular telephones to offer long
distance service. Through Arymyx, BATISTA routed telephone traffic going to relatively high-
cost international destinations such as Cuba, Jamaica, and the Dominican Republic to call sites on
behalf of other Traffickers and telecommunications service providers. BATISTA explained to
FANA and the defendant that, as a Call Site Operator, FANA would transmit these calls through
cellular telephones that FANA would re-program and maintain. FANA subsequently established
a call site at his residence in Miami-Dade County, Florida.

BATISTA explained to FANA that the telecommunication identifying information he
would receive was coming from telephone companies. BATISTA also warned that the telephone
companies would shut down the “lines” used to re-program the cellular telephones. As a result,
FANA needed to check each re-programmed cellular telephone every 10-15 minutes in order to

make sure that it was still working. When the telephone company shut down a “line,” FANA
Page 4 of 12
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 5 of 12

needed to re-program that cellular telephone with information associated with a different account.
BATISTA further warned FANA that he should not let anyone know about the equipment in his
residence or that he was re-programming telephones. BATISTA also instructed FANA to use
Sanyo model 8100 and 8200 cellular telephones, which are older model “flip” style cellular
telephones, because they were easy to reprogram. Subsequently, BATISTA left for the United
States but the defendant remained in the Dominican Republic.

BATISTA provided FANA with equipment to use at FANA’s call site in order to handle
traffic directed to FANA by BATISTA. However, FANA eventually purchased his own
equipment and began receiving both “lines” and traffic from the defendant. As part of the fraud
scheme, the defendant owned and used at least two email accounts: odimar_21@hotmail.com and
edgarperaltalopez@hotmail.com. In fact, using his edgarperaltalopez@hotmail.com and
odimar_21@hotmail.com email accounts, the defendant sent numerous e-mails to FANA with
information to carry out the fraud. Beginning at least as early as April 2010, the defendant
communicated with FANA about “lines” used in the scheme using his
edgarperaltalopez@hotmail.com account. Between April 7, 2010 and May 10, 2012, FANA sent
the defendant approximately 382 e-mails containing telecommunications identifying information,
reporting quantities of minutes used and dollars owed, and reporting that specific “lines” were no
longer working. For example, on May 11, 2010, FANA sent an email to the defendant’s
edgarperaltalopez@hotmail.com address listing twenty-three sets of telecommunications
identifying information. On July 4, 2011, FANA sent an email to the same address containing
two sets of telecommunications identifying information, indicating that both were “buena”
(meaning that both were functioning). By contrast, on July 19, 2011, FANA sent the defendant

an email with three sets of telecommunications identifying information, with an “m” next to all
, Page 5 of 12
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 6 of 12

three. The “m” stood for “mala,” meaning that the lines were not working.

The defendant also communicated with FANA using the odimar_21@hotmail.com
account. For example, on October 13, 2011, the defendant sent FANA an email containing
several sets of telecommunications identifying information, accompanied by, in some instances,
the customer name, provider, and cell phone type associated with the account. In addition to
providing FANA with fresh “lines,” the defendant — like BATISTA — routed telephone traffic
going to relatively high-cost international destinations such as Cuba, Jamaica, and the Dominican
Republic through FANA’s call site on behalf of other Traffickers and telecommunications service
providers. The defendant paid FANA to transmit this fraudulent telephone traffic.

Besides FANA, the defendant supplied lines to other Call Site Operators, including Braulio
DE LA CRUZ VASQUEZ and Jose SANTANA, who operated call sites in Palm Beach County,
Florida. The defendant regularly sent DE LA CRUZ VASQUEZ emails containing personal
information about cellular telephone customers and cellular telephone lines and frequently paid
him for his efforts. Between October 2011 and December 2012, the defendant and DE LA CRUZ
VASQUEZ exchanged at least 610 emails containing telecommunication identifying information.

In the emails the defendant sent, the stolen telecommunications identifying information
was grouped into sets or combinations, so that the ESNs, MTNs, and MINs for a particular account
appeared either on the same line together or on adjacent lines. Individual emails contained sets
of telecommunications identifying information for as few as one or two accounts or as many as
forty accounts. In some instances, the emails would label each number, identifying it as an ESN,
MTN, or MIN (or the equivalent). For example, on February 4, 2012, the defendant sent an email,
using his email address odimar_21@hotmail.com, to DE LA CRUZ VASQUEZ with the subject

line “FW: manos al obra con los 10bn.” The body of the email listed ten groups, labeled from
Page 6 of 12
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 7 of 12

one to ten, each with three numbers. Each number was labeled with the appropriate label for that

. particular type of telecommunications identifying information, namely, “MDN (Phone number)”
(MDN is another term for MTN), “MSID (IMSI)” (MSID and IMSI are both other terms for MIN),
and “ESN Hex/Dec/Sim.” Seven of these groups of telecommunications identifying information
were associated with Sprint accounts. These seven accounts belonged to four different
subscribers, all of whom were listed as residents of New Jersey. Beginning approximately two

“hours after the defendant sent this email to DE LA CRUZ VASQUEZ, at least three of these
accounts began making numerous calls to the Dominican Republic and various other Caribbean
countries, until Sprint terminated the accounts several hours later.

On July 17, 2012, the defendant received an email from DE LA CRUZ VASQUEZ with
the subject “braulio,” which contained four “lines” of telecommunications identifying information.
One of these “lines” included an MTN of XXX-XXX-~-9220, which was assigned to a Verizon

Wireless account opened in the name of Co.S., a real person living in Chula Vista, California, on
June 29, 2012. Co.S. did not authorize anyone to open this account in her name. Verizon
Wireless found that this number was used to make $12,617 in fraudulent calls. The defendant
knew that this, and other telecommunications identifying information he had sent and received,
was associated with accounts belonging to, or established using the identities of, real people. This
email was sent for the purpose of advising the defendant what “lines” were functioning, in
furtherance of the scheme to defraud. This email, like other emails sent in furtherance of the
scheme, were transmitted in interstate and foreign commerce, traveling between the defendant,
who resided in the Dominican Republic, through Microsoft’s servers outside the state of Florida,
and DE LA CRUZ VASQUEZ, who resided in Florida.

In addition, the defendant sent numerous “lines” with compromised telecommunications
Page 7 of 12
Gase 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 8 of 12

identifying information to SANTANA. For example, on October 15, 2011, at approximately 3:03
p.m., the defendant sent SANTANA an email at SANTANA’s peréz2521@hotmail.com account
with the subject “FW: 2 vz 011.” The email contained two group of telecommunications
programming information. One group included an MIN of XXX-XXX-1081, along with an
associated ESN and MTN. This information matched the telecommunications identifying
information associated with a Verizon Wireless account that had been opened in the name of “Ch.
S.,” a real person residing in Wilmington, Delaware. The real “Ch. S.” did not open this Verizon
Wireless account; nor did he authorize anyone to open and use a Verizon Wireless account in his
name. At approximately 3:24 p.m., 21 minutes after the defendant’s email to SANTANA, a
telephone using the account opened in “Ch. S.’s” name began making unauthorized international
calls through a cellular tower located approximately two miles from SANTANA’s residence in
West Palm Beach (which was also the closest Verizon Wireless cellular tower to SANTANA’s
residence). In total, approximately 205 unauthorized calls were made through this cellular tower
using this account within 48 hours, before Verizon Wireless shut down the account on October 17.
The account was also used to make an additional 253 unauthorized calls through cellular towers
in western Miami during the same time. Verizon Wireless suffered a loss of more than $11,000
from these calls.

The other group of telecommunication identifying information that SANTANA received
from the defendant in the October 15, 2011 email described above was for an account with MIN
XXX-XXX-8146. This account was opened in the name of “S.P.” of Philadelphia, Pennsylvania.
On October 15, 2011, at approximately 3:25 p.m., approximately 22 minutes after SANTANA
received the defendant’s email, a telephone using this account began making international calls to

Cuba from the same cellular tower located approximately two miles from the defendant’s
Page 8 of 12
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 9 of 12

residence. Seventy-five such calls were placed through this cellular tower before Verizon
Wireless shut down the account the following day, October 16, 2011. An additional 106 similar
calls were placed from the Miami area. Verizon Wireless suffered a loss of more than $10,000
from these calls.
Some of the telecommunications identifying information that the defendant sent to FANA,
DE LA CRUZ VASQUEZ, SANTANA, and others came from Farintong CALDERON.
CALDERON had devised a method of identifying active ESNs by “incrementing” or changing
known working ESNs until he discovered another working account; he could then clone a cell
phone using the discovered account. CALDERON began selling his lines to individuals in the
Dominican Republic for the purpose of cloning cell phones. CALDERON met the defendant in
the Dominican Republic and agreed to sell “lines” to the defendant for a weekly payment.
Between October 29, 2011, and October LL, 2012, CALDERON and the defendant
exchanged more than 400 emails containing ESNs and MTNs or MINs. In most of these emails,
‘ the CALDERON sent the defendant one or more ESNs; with associated MTNs or MINs, with little
or no other commentary. The emails had subject lines indicating how many “lines” were
contained therein, such as “3 mas” (i.e. “3 more”). Other emails also included the notation
“jama,” indicating that the “lines” should be used to route telephone calls going to Jamaica. The
defendant would subsequently forward the “lines” to Call Site Operators. The defendant would
also respond to CALDERON with emails noting which lines were “buena” (i.e. “good”) or “mala”
(i.e. “bad”). Such notations would indicate to CALDERON which lines he had sent were working
and which ones were not. The defendant would similarly send CALDERON emails with the
notation “s f’ or “se fueron” next to certain lines. These notations would indicate that lines that

had been working had stopped working. The defendant paid CALDERON weekly for sending
Page 9 of 12
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 10 of 12

him lines by depositing money in CALDERON’s bank account; the amount CALDERON earned
was based on how much of the defendant’s fraudulent traffic passed through CALDERON’s
- “lines,” which the defendant could track and monitor using tools such as “soft switches.”

CALDERON also provided “lines” to both FANA and BATISTA as well. That
compromised telecommunications identifying information from CALDERON would then be used
to program cellular telephones at call sites and used to transmit fraudulent international telephone
calls, including traffic provided by the defendant. Moreover, the defendant provided equipment
to CALDERON for the scheme through another individual.

As discussed in more detail above, the defendant agreed with FANA, BATISTA, DE LA
CRUZ VASQUEZ, SANTANA, and CALDERON and others to commit wire fraud; access device
fraud; the use, production, and possession of modified telecommunication devices; and the use and
possession of hardware and software configured to obtain telecommunications services. The
defendant knew the unlawful purpose of the plan and willingly joined it and, during the conspiracy,
conspirators engaged in the overt acts described above and in the indictment. These overt acts
were committed to help accomplish the object of the conspiracy.

In conspiring to commit wire fraud, the defendant agreed to participate in a scheme to
defraud and obtain money and property by using false pretenses, representations, and promises
about material facts. He acted with intent to defraud, and he transmitted by wire communications
in interstate or foreign commerce to help carry out the scheme to defraud. In conspiring to commit
access device fraud, the defendant used numerous unauthorized access devices to obtain things of
value totaling $1,000 or more during a 12-month period, and his conduct affecting interstate or
foreign commerce. These access devices included ESNs, MTNs, MINs, and other means of

account access that could be used alone or in conjunction with another access device to obtain a
Page 10 of 12
Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 11 of 12

thing of value, and they were unauthorized because the defendant used them with intent to defraud.
The defendant committed access device fraud for personal financial gain and to cause financial
loss to someone else.

In conspiring to use, produce, and possess modified telecommunication devices, the
defendant agreed to knowingly use, produce, and possess telecommunications instruments,
namely, cellular telephones at his co-conspirators’ call sites, that had been modified and altered to
obtain unauthorized use of telecommunications services. He did so with intent to defraud, and
his conduct affected interstate or foreign commerce. In conspiring to use and possess hardware
and software configured to obtain telecommunications services, the defendant agreed knowingly
to use.and possess hardware and software that had been configured to modify telecommunication
identifying information associated with or contained in telecommunications instruments, namely,
cellular telephones, so that the telephones could be used to obtain telecommunication services
without authorization. The defendant knew that the hardware and software had been so
configured, and his conduct affected interstate or foreign commerce.

By receiving the July 17, 2012 email described above, the defendant committed wire fraud.
He knowingly participated in a scheme to defraud and obtain money and property by using false
pretenses, representations, and promises about material facts. He acted with intent to defraud,
and he caused to be transmitted by wire a communication in interstate or foreign commerce to help
carry out the scheme to defraud.

During and in relation to the wire fraud committed on July 17, 2012, as described above,
the defendant committed aggravated identity theft. Specifically, he knowingly transferred,
possessed, and used another person’s means of identification without lawful authority. That

means of identification was an MTN of XXX-XXX-9220 belonging to Co.S.
Page 11 of 12
_ Case 0:16-cr-60190-BB Document 224 Entered on FLSD Docket 11/18/2019 Page 12 of 12

Moreover, the defendant admits that, using his odimar_2!1@hotmail.com and
edgarperaltalopez@hotmail.com e-mail accounts, he sent or received from other co-conspirators
approximately 3,158 combinations of telecommunication identifying information for specific cell
phone devices or accounts belonging to individuals around the United States, and that the loss
amount for each of these unauthorized access devices is not less than $100, making a loss amount
of at least $315,800.

In addition, the defendant admits that the offense involved 10 or more victims, involved
sophisticated means and the defendant intentionally engaged in or caused the conduct constituting

sophisticated means, and involved the production or trafficking of unauthorized access devices.

ARIANA FAJARDO ORSHAN
UNITED ZL. ATTORNEY

Date: \\ \9 \\ By: Lah LE
RED M. ST

ASSISTANT UNITED STATES ATTORNEY

soe: WING yp AMatf es | rvr

MATTHEW A. LAMBERTI
SENIO WW S. DEP” T OF JUSTICE

 

Date: [3 By: ba
RAM NT

PD Co —

EDGAR ESTARLIN PERALTA LOPEZ ‘
DEFENDANT

 

Date [A~ (/.2O By:

Page 12 of 12
